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IN THE UNITED sTATEs DISTRICT CO'UHT ‘
FOR THE WESTERN DISTRICT oF TE _ 55 wi m 21
WESTERN DIVISION “*“ '

 

COMMODITY FUTURES TRADING
COl\/[MISSION,

Plaintiff,

v. No. 04-2181-BBD

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FXTRADE FINANCIAL, LLC; §§ §
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JEFFREY A. MISCHLER; LEE N. ) saw .“

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ERNST H. BEH;R; GoRDoN J. §-
VANDEVELD; and REVERIE, LLC,

ROMANO, II; MARY JO SIBBITT; ‘:_.:E"§` z~:.
C_)
§§ 23
Defendants,
JOSEPH J. CECALA, JR.,

Relief Defendant.

MOTION PURSUANT TO LR83.1(b) FOR ADMISSION PRO HAC VICE
OF THOMAS J. SJOBLOM AND BENJAMIN R. OGLETREE

 

Comes now Michael Richards, attorney for Relief Defendant Joseph J.
Cecala, Jr., and respectfully moves this Court pursuant to LR83.1(b) for admission
of Thomas J. Sjoblom and Benjamin R. Ogletree to practice pr_o IM m as
counsel for Reliefl)efendant Joseph J. Cecala, Jr. in this case. This motion is

supported by their affidavits A proposed order is attached.

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with Fiu|e 58 and/or 79(3) FRCP on g lHO OH-n; /'27

Case 2:04-cv-02181-.]PI\/|-tmp Document 127 Filed 08/17/05 Page 2 of 4 Page|D 168

Respectfully submittcd,

Michael Eiczlards, (#7973)

Attorney for Relief Defendant,
Joseph J. Cecala, Jr.

OF COUNSEL:

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CERTIFICATE OF SERVICE

I, Michael Richards, hereby certify that a true and correct copy of the
foregoing has been served upon Richard Glaser, Commodity Futures Trading
Commission, Division of Enforcement, 1155 215t Street, N.W., Washington, D.C.
20581; Charles D. Marvine and Rachel A. Hayes, Commodity Futures Trading
Commission, Division of Enforcement, Two Emanuel Cleaver II Boulevard, Suite
300, Ka.nsas City, Missouri 64112; Gary A. Vanasek, Esq., Assistant United
States Attorney, United States Attorney's Offlce, 200 Jefferson Avenue, Suite 811,
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Illinois 60068; Scott J. Crosby, Esq. and Mary A. Hale, Esq., Burch, Porter &
Johnson, 130 N. Court Avenue, Memphis, Tennessee 38103, Lee N. Romano, II,
P. O. Box 17, Union, Illinois 60180; Mary Jo Sibbitt and Reverie, LLC, 21 W.
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Unit F, Glenview, IlIinois 60025; and Benjamin Ogletree, Esq. and Amy E.
Nelson, Esq., Chadbourne & Parke, LLP, 1200 New Hampshire Aven .W.
Washington, D.C. 20036, via first class mail, postage prepaid this __ ay of
February, 2005.

/

chael Richards

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This notice confirms a copy of the document docketed as number 127 in
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Honorable Bernice Donald
US DISTRICT COURT

